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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                     August 16, 2021

Maria N. Jacob, Esq.
Assistant Federal Public Defender
Office of the Federal Public Defender for the District of Columbia
625 Indiana Avenue, NW, Suite 550
Washington, D.C. 20004

        Re:     United States v. David Charles Mish, Jr.
                Case No. 21-cr-112 (CJN)

Dear Counsel:

        I write to memorialize the disclosure of the following to you via USAfx on August 11,
2021:

   •    Materials for Serials 31 and 32, which relate to your client’s cell phone. These materials
        were not included in the initial fast-track discovery production due to the filter review
        conducted on that cell phone.
   •    A MPD body worn camera file of Officer Ashley Mancuso.

        If you have any questions, please feel free to contact me.

                                                     Sincerely,



                                                     Christine Macey
                                                     Assistant United States Attorney
                                                     United States Attorney’s Office
                                                     555 Fourth Street, N.W., Room 5243
                                                     Washington, D.C. 20530
                                                     (202) 252-7058
                                                     Christine.Macey@usdoj.gov
